






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00793-CV






Public Utility Commission of Texas; and Electric Transmission Texas, LLC, Appellants


v.


Cities of Harlingen, McAllen, Mission, Port Lavaca, Rockport, and Victoria; 

State of Texas; and Texas Industrial Energy Consumers, Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 345TH JUDICIAL DISTRICT

NO. D-1-GV-08-000253, HONORABLE DARLENE BYRNE, JUDGE PRESIDING




D I S S E N T I N G   O P I N I O N



		I respectfully dissent from the majority's opinion deciding the merits of this appeal
without affording the parties an opportunity to address the procedural shortcomings at issue here. 
My quarrel is not with a justice's post-argument recusal or the reconstitution of the panel alone, but 
with the majority's refusal as well to recognize the potential conflict of the remaining panel members
and the corresponding failure to seek input from the parties, as permitted and expressly contemplated
in rule 18b(5) of the Texas Rules of Civil Procedure, on whether to waive any of these conflicts. 
Tex. R. Civ. P. 18b(5) (allowing waiver after full disclosure).


Facts &amp; Procedural Background

		The notice of appeal was filed in this cause on December 31, 2008.  That same day,
this appeal was assigned to Justice Pemberton pursuant to this Court's practice of assigning cases
to each justice on a rotating basis.  Briefs were filed by the parties, and oral argument was scheduled
for April 24, 2009, before a panel of three justices--comprised of Justices Patterson, Pemberton and
Waldrop.  All three justices participated in oral argument, and the case was submitted at the close
of argument.  After argument, these three panel members participated in conference deliberations
in which each justice expressed his views about the case, and the panel reached a tentative decision. 
Although the majority asserts that such deliberations were of little or no significance, the
majority&nbsp;does not dispute that deliberations occurred or that Justice Pemberton participated in
these&nbsp;deliberations.

 		Thereafter, on May 4, 2009, Justice Pemberton advised the panel and  the clerk of this
Court that he "need[ed]" to recuse himself from the case.  When asked about the basis for his
recusal, Justice Pemberton stated, "A family member arguably has an indirect financial interest." 
He further stated, "I have recused based on [Texas Rule of Civil Procedure] 18b(2)(a) because one
could reasonably argue that a family member has an indirect 'financial interest' (see [Tex. R. Civ.
P.] 18b(4)(d)) in the outcome of the litigation."  Although I immediately urged Justice Pemberton
to disclose the nature of his conflict and ask the parties to consider whether to waive that conflict, (1)
he declined to do so.  

		That same day, in the alternative and absent a disclosure by Justice Pemberton and
waiver by the parties, I urged that the case be reassigned to a new panel for immediate reargument,
since Justice Pemberton as the authoring judge had participated in oral argument and had tentatively
decided the case in concert with the other panel members in deliberations after oral argument.  The
case was not reassigned to a new panel.

		Instead, on June 10, 2009, without notice or further explanation to the parties or this
panel member, the case was transferred to Justice Waldrop.  Between June 23rd and July 10th,
several parties submitted motions for leave to file post-submission briefs.  Notations on each of these
motions, as well as the post-submission letter briefs to be filed by the parties, show that the motions
and briefs were distributed to Justices Patterson, Pemberton, and Waldrop, (2) even though Justice
Pemberton had already recused himself before these motions were received or filed. (3)

		On September 16, 2009, I again urged that this appeal should be reassigned and
reargued to a new three-judge panel or, in the alternative, the parties should be informed of the
nature&nbsp;of Justice Pemberton's conflict so that they could consider whether to waive it.  As the
two&nbsp;remaining panel members were unable to agree on whether the case should be reargued
before&nbsp;a&nbsp;new panel or whether to present the circumstances and posture of the case resulting from
Justice&nbsp;Pemberton's recusal to the parties for their input, another justice was designated to replace
Justice Pemberton.  See Tex. R. App. P. 41(b)(1).

		Two days later--and five months after oral argument--the parties were advised
in&nbsp;a&nbsp;one-sentence letter from the clerk's office that Justice Pemberton had recused himself and
Justice&nbsp;Puryear had been designated to replace him. (4)  Without affording the parties an opportunity
to address any potential conflicts of the remaining panel members or, in the alternative, reassigning
this appeal for reargument to a new three-judge panel untainted by the participation of a justice who
has now recused himself, the majority purports to decide this case.


Inadequacy of Parties' Remedies

		This Court is bound by its own precedent and the rules of appellate procedure.  See
Tex. R. App. P. 16.3(a) ("A party may file a motion to recuse a justice or judge before whom the
case is pending.  The motion must be filed promptly . . . ."); Ex Parte Ellis, 275 S.W.3d 109, 122-23
(Tex. App.--Austin 2008, no pet.) (holding state's motion to recuse was untimely filed because not
filed until after opinion was released); see also McCullough v. Kitzman, 50 S.W.3d 87, 88 (Tex.
App.--Waco 2001, pet. denied) (time to file motion to recuse expires once opinion has been
released).  The majority errs in its claim that it is an improper use of a dissenting opinion to call into
question the procedures employed by a court to reach a decision in a particular case without
addressing the merits.  See, e.g., Neilson v. Colgate-Palmolive Co., 199 F.3d 642, 666 (2d Cir. 1999)
(Sotomayor, J., dissenting in part based on procedures employed by district court); Cromwell
v.&nbsp;Equicor-Equitable HCA Corp., 944 F.2d 1272, 1279 (6th Cir. 1991) (Jones, J., dissenting
from&nbsp;majority's analysis regarding procedures employed by district court upon acceptance of
removal&nbsp;jurisdiction); Id. at 1279 (Suhrheinrich, J., concurring in Jones' dissent); Feldman v. Marks,
960&nbsp;S.W.2d 613, 615-16 (Tex. 1996) (Gonzalez, J., dissenting from court's decision on merits after
sua sponte request to supplement record without motion or input from parties); In the Interest of S.T.,
239 S.W.3d 452, 458 (Tex. App.--Waco 2007, pet. denied) (Gray, C.J., dissenting from new
jurisdictional procedures announced by majority); Benson v. State, 224 S.W.3d 485, 501 (Tex.
App.--Houston [1st Dist.] 2007, no pet.) (Keyes, J., dissenting from en banc majority's decision to
overrule issue not properly before court).  By deciding the merits of this appeal without full
disclosure and affording the parties an opportunity to address the procedural shortcomings at issue,
the majority may foreclose the opportunity to do so altogether.

		The Texas Supreme Court has recognized that procedural defects involving judicial
disqualification and recusal should be addressed before reaching the merits of an appeal.  See Tesco
Am., Inc. v. Strong Indus., Inc., 221 S.W.3d 550, 557 (Tex. 2006) (postponing addressing merits of 
appeal until after procedural defects have been remedied on remand).  The rules of appellate
procedure and this Court's precedent are consistent with the supreme court's approach in Tesco. 
Appellate rule 16.3(a) allows a party to "file a motion to recuse a justice or judge before whom the
case is pending" and requires the motion to "be filed promptly after the party has reason to believe
that the justice or judge should not participate in deciding the case."  See Tex. R. App. P. 16.3(a). 
This Court has interpreted the language in appellate rule 16.3(a) to mean that the motion to
recuse&nbsp;must be filed while the case is pending--i.e., before the appellate court releases its opinion. 
Ex&nbsp;Parte Ellis, 275 S.W.3d at 122-23 (citing McCullough, 50 S.W.3d at 88).

		The majority asserts, however, that "the parties were put on notice of the recusal with
ample opportunity to raise an objection or complaint regarding the procedure this Court has
followed, both with respect to the recusal and to the reconstitution of the panel," and the majority
observes that "[n]o party has raised any objection or complaint."  See slip op., supra, at 39 n.17.  The
majority therefore contends that the complaints raised in this dissent have been raised "sua sponte
without the benefit of any objection by a party, any party having raised the issue, or any party
briefing the question."  See id.  But the majority presumes too much.  To date, the parties have
received a belated one-sentence letter notifying them that Justice Pemberton has recused himself
and&nbsp;that another justice has been designated to replace him.  They have not been informed that
Justice&nbsp;Pemberton was originally assigned to be the authoring judge or that he participated in
post-argument deliberations with the other panel members and reached a tentative decision in this
case prior to recusing himself.  Nor were the parties afforded an opportunity to consider, much less
address, whether Justice Pemberton's participation and recusal under these circumstances would
have any affect on the remaining panel members.

		In the absence of contrary evidence in the record, the parties are entitled to a general
presumption in favor of the regularity of judicial proceedings.  See, e.g., McElyea v. Parker,
81&nbsp;S.W.2d 649, 653 (1935); Southern Ins. Co. v. Brewster, 249 S.W.3d 6, 13 (Tex. App.--Houston
[1st Dist.] 2007, pet. denied).  Given the presumption of judicial honesty and integrity, see Withrow
v. Larkin, 421 U.S. 35, 47 (1975), and without knowledge of the circumstances surrounding
Justice&nbsp;Pemberton's participation prior to his recusal, what objection or complaint could the parties
reasonably be expected to raise?  Even if the parties raise an objection after the majority's opinion
on the merits is released, it is debatable, in light of this Court's interpretation of appellate rule 16.3
in Ex Parte Ellis, 275 S.W.3d at 122-23, whether that objection would even be considered.  To
preserve the parties' remedies, then, it is necessary to dissent from the procedural shortcomings at
issue without addressing the merits.


Duty to Decide v. Avoid Impropriety, or Both

		The majority observes that Canon 3(B)(1) of the Code of Judicial Conduct states that
"[a] judge shall hear and decide matters assigned to the judge except those in which disqualification
is required or recusal is appropriate."  Tex. Code Jud. Conduct, Canon 3(B)(1) (reprinted in Texas
Rules of Court (West 2009)).  But this same code also requires a judge to "comply with the law and
[to] act at all times in a manner that promotes public confidence in the integrity and impartiality of
the judiciary."  Id. Canon 2(A).  Despite these dual obligations, the majority ignores the possibility
of conflict regarding the remaining panel members--i.e., Justice Waldrop and this
justice--occasioned by Justice Pemberton's recusal.  Although I continue to urge that these
circumstances should be disclosed to the parties and that they be afforded an opportunity to waive
or object to any potential conflict as contemplated by the rules of civil and appellate procedure, the
majority has rejected these requests.  The majority asserts, "If the dissenting judge honestly believes
she is somehow 'conflicted,' 'not neutral,' or no longer 'untainted' . . . she is obligated to recuse
herself and not serve on the panel."  See slip op., supra, at 37 (emphasis added).  But this is not what
the rules require.

		The rules of civil procedure provide, "The parties to a proceeding may waive any
ground for recusal after it is fully disclosed on the record."  Tex. R. Civ. P. 18b(5).  To the extent
Justice Pemberton's participation and recusal gives rise to circumstances in which this justice's
impartiality might reasonably be questioned, the parties may waive any ground for recusal after full
disclosure on the record.  Id.  And, even if the majority declines to engage in full disclosure on the
record and afford the parties an opportunity to waive any conflict, that does not preclude this justice
from doing so.  See id.  Thus, the majority is wrong to argue that I am somehow "obligated" to
recuse myself without first affording the parties an opportunity to waive or object to any conflict. (5)

		From the moment Justice Pemberton recused himself in early May 2009, I urged this
Court to follow the process contemplated in rule 18b(5) of the Texas Rules of Civil Procedure and
afford the parties an opportunity to waive any conflict. (6)  Given the procedural circumstances
surrounding Justice Pemberton's participation in these proceedings, I believe it is necessary at least
to afford the parties an opportunity to address the conflict of the remaining panel members or
possibility that the case should be reassigned and reargued to a new panel.  See Tex. R. Civ. P.
18b(5); Tex. R. App. P. 41.1(b).

		The majority does not dispute that Justice Pemberton participated in oral
argument--questioning the parties along with other panel members.  Nor does the majority dispute
that post-argument deliberations occurred or that a tentative decision was reached in these
deliberations.  It matters not whether these post-argument communications between panel members
are termed "deliberations," or, as the majority now states, "discussions" and "a postponement of
deliberation due to the need for more study."  See slip op., supra, at 40-41.  What matters is that
these communications occurred and that a now-recused justice participated.

		There is no way to measure the impact of Justice Pemberton's participation on the
remaining panel members.  To the extent the majority contends that Justice Pemberton's
participation in these post-argument communications was of little or no significance because the
entire "'deliberation' .&nbsp;.&nbsp;. lasted less than a minute" and he "did not participate in any substantive
discussions or deliberations of this case with either of the other panel members," see id., I cannot
accept this mistaken characterization or the author's recollection of the facts concerning conference
following oral argument.  In any event, the majority misses the point.  Regardless of its length, the
mere fact of Justice Pemberton's participation calls into question the integrity and process of this
Court's decision.  See Tex. Code Jud. Conduct, Canon 2(A) (requiring judges to avoid impropriety
as well as appearance of impropriety).  The participation of a recused justice in this case cannot be
a little bit proper:  It is either proper, or it is not. (7)

		The majority claims that this situation is "directly govern[ed]" by rule 41.1 of
the&nbsp;Texas Rules of Appellate Procedure instead of civil rule of procedure 18b(5).  See slip op.,
supra&nbsp;at&nbsp;37.  While appellate rule 41.1 addresses the procedure to be followed when a member of
the panel "cannot participate," see Tex. R. App. P. 41.1, that rule does not supplant the procedure
expressly contemplated in civil rule of procedure 18b(5).  See Tex. R. Civ. P. 18b(5).

		Notwithstanding the plain language of these rules, the majority concludes that a panel
member may simply decline to follow the procedure in civil rule of procedure 18b(5).  But this
conclusion is at odds with the majority's contention that "the most basic obligation of a judge under
the Code of Judicial Conduct . . . is 'to hear and decide matters assigned to the judge.'"  If, as the
majority posits, the most basic obligation of a judge is to hear and decide matters assigned to that
judge, then, under the majority's own conclusion, it follows that a panel member who has
participated in oral argument and post-argument deliberations may not simply recuse without
affording the parties an opportunity to consider whether to waive the ground for recusal. (8)

		Due process requires a fair and neutral decisionmaker.  Withrow, 421 U.S. at 46-47. 
But the procedures employed to reach a decision in this case raise the question whether this
constitutional standard has been met.  A now-recused justice participated in oral argument and
post-argument deliberations with two of the remaining panel members.  This process lacks the
transparency fostered by the rules of civil procedure and frustrates the goal of promoting public
confidence in the judiciary.  Moreover, this approach assumes that we, as judges, know better than
the parties before us on a matter relating to a case they bring before the Court.  At a minimum--as
I have urged all along--we should seek input from the parties as to their desired course of action.

		That the majority fails to recognize the legal and ethical dilemma created by a
justice's participation in the decision-making process and subsequent recusal after submission of the
case does not excuse the procedures employed in this case.  What does justice require?  In
discharging our judicial responsibilities and recognizing the timeless cornerstones of judicial
integrity, impartiality, and fairness, judges are called upon to act at all times in a manner that
promotes public confidence in the judiciary.  See Tex. Code Jud. Conduct, Canons 2(A), 3.  As one
Supreme Court justice has aptly stated, "Judicial integrity is, in consequence, a state interest of the
highest order."  See Republican Party of Minn. v. White, 536 U.S. 765, 793 (2002) (Kennedy, J.,
concurring).  At a minimum, due process requires a fair and neutral decisionmaker--both at trial and
on appeal. (9)  "An independent and honorable judiciary is indispensable to justice in our society." 
Tex. Code of Jud. Conduct, Canon&nbsp;1.  By deciding the merits without disclosing the participation
of a now-recused justice and without affording the parties an opportunity to waive or object to any
conflict on the part of that judge or the remaining panel members as contemplated in the rules of
civil and appellate procedure, the majority undermines the integrity and impartiality of the judiciary.
In addition, the opacity and lack of disclosure of this process erodes public confidence in the
judiciary and the resolution of this case.

		Having sought and obtained oral argument--and having expended substantial time
and resources to present their case to a panel of this Court--the parties are entitled to address the
Court concerning these issues.  The only reason given by Justice Pemberton for his recusal is that
a family member might arguably have an indirect financial interest in the outcome of these
proceedings.  The parties were not informed of the basis for Justice Pemberton's recusal, nor were
they given an opportunity to address the potential effects of Justice Pemberton's involvement and
post-argument recusal on the remaining panel members.  In light of the substantial efforts expended
by the parties and the express provision in the rules of civil procedure allowing parties to waive any
ground for recusal after full disclosure on the record, at a minimum, the parties should have been
afforded an opportunity to consider whether to do so before this Court released its opinion. (10)

		Because the majority refuses to afford the parties an opportunity to address the
procedural shortcomings at issue and an opportunity to waive or object to any potential conflict, I
dissent from the majority's opinion purporting to decide the merits of this appeal and from the
procedures employed by the majority to reach that decision.  Justice requires more than this.



						__________________________________________

						Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Waldrop

Filed:   March 26, 2010

1.   See Tex. R. Civ. P. 18b(5) (allowing parties to waive any ground for recusal after it is fully
disclosed on the record); see also Nueces County Drainage &amp; Conservation Dist. No. 2 v. Bevly,
519&nbsp;S.W.2d 938, 952-53 (Tex. Civ. App.--Corpus Christi 1975, writ ref'd n.r.e.) (supplemental op.)
(granting all parties leave to amend briefs to raise disqualification issue).
2.   The record also shows that the Court received one post-argument amicus brief that was
distributed to the three original panel members.
3.   Court records further indicate that each motion was granted pursuant to instructions from
Justice Waldrop's chambers.  In addition, on July 6, 2009, although the case was already under
submission to the panel, the clerk's office, acting pursuant to instructions from Justice Waldrop's
chambers, dismissed as moot a motion for preferential submission and decision without seeking
input from the panel members.  Indeed, the motion was not moot as the parties sought the earliest
possible resolution of this dispute and that it be given "precedence over other pending cases."
4.   The full text of the letter read:


	Pursuant to the recusal of Justice Pemberton in the above referenced cause,
Justice&nbsp;Puryear has been designated to replace Justice Pemberton on the panel.  See
Tex. R. App. P. 41.1.
5.   The majority misrepresents and misquotes the statements and positions taken in this
dissent, embellishing words and arguments into overstatement.  See slip op., supra, at 36 &amp; n.15. 
In particular, at footnote 15 of the majority opinion, the majority asserts that the dissenting judge has
never requested the panel or the Court to send the parties notice of a "potential conflict."  But this
is exactly what I have sought--and continue to urge here--from the moment Justice Pemberton
recused himself.
6.   Prior to the commencement of oral argument in this very case, Justice Waldrop announced
to the parties that his former law firm had filed an amicus brief in support of the Commission's order
and gave the parties present an opportunity to raise any concerns or objections.  None of the parties
objected at that time.
7.   The majority refuses to acknowledge the possibility that Justice Pemberton's participation
in this case prior to his recusal might give rise to grounds for recusal for the remaining panel
members, including the author of the majority opinion.  The majority defines "participation" too
narrowly by declaring that "Justice Pemberton did not participate in the decision in this case."  See
slip op., supra, at 41 (emphasis added).  Regardless of whether Justice Pemberton signs the opinion
deciding this case, he participated in the process at least prior to his recusal.  The majority's
narrowly-defined view should not be used to deny the parties an opportunity to address the effects
of Justice Pemberton's involvement in this appeal.
8.   The majority's comparison of this justice's recusals in past appeals to that of
Justice&nbsp;Pemberton in this case is inapposite.  The relevant issue here is not the mere fact of recusal,
but rather a question of timing.  The rules of civil and appellate procedure require a judge to inform
himself about his personal affairs and financial interests and those of his family and spouse.  Tex.
R. Civ. P. 18b(3); Tex. R. App. P. 16.2.  In keeping with this obligation, I have recused myself at
the outset from certain appeals submitted on briefs and prior to submission in cases that have been
orally argued.  In this case, however, the circumstances are decidedly different.  Justice Pemberton
did not communicate any ground for recusal until after the parties had spent considerable time and
effort briefing the issues in the case and participating in an extended oral argument before the Court.
9.   See, e.g., Caperton v. A.T. Massey Coal Co., 129 S.Ct. 2252, 2256-57 (2009) (finding that
due process required recusal of appellate judge); Withrow v. Larkin, 421 U.S. 35, 46 (U.S. 1975)
("[A] 'fair trial in a fair tribunal is a basic requirement of due process.'") (quoting In re Murchison,
349 U.S. 133, 136 (1955)); Morrissey v. Brewer, 408 U.S. 471, 488-89 (1972); Brown v. Vance,
637&nbsp;F.2d 272, 281 (5th Cir. 1981) ("[D]ue process guarantee(s) . . . a fair trial before an
impartial&nbsp;judge . . . .").
10.   The majority mistakenly attributes the delay in the disposition of this case to "a rather
lengthy process of producing opinions relating to this 'dissent.'"  The eleven-month delay is due to
the majority's recalcitrance to seek the parties' input regarding these recusal issues or to allow the
parties to immediately reargue the case upon reconstitution of the panel as well as the Court's
five-month delay in notifying the parties of Justice Pemberton's recusal and naming his replacement.

